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AO 91 (Rev. 11/11} Criminal Complaint

UNITED STATES DISTRICT COURT

for the

Southern District of Texas

United States of America ) :

v. J :

Tyrone JOHNSON JR ) Case No. ,
)
)
)
)

Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 30, 2024 in the county of Webb in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
8 USC 1324 Knowing and in reckless disregard of the fact that an alien had come to, entered, and

remained in the United States in violation of law, did transport and move and attempted to
transport and move and conspired to transport and move such alien within the United
States by means of transportation and otherwise in furtherance of such violation of law.

This criminal complaint is based on these facts:

Continued on Affidavit

[V continued on the attached sheet. /S/Michael Grant a

Complainant's signature

Michael Grant Border Patrol Agent

2
Printed name and utle
Sworn to before me and signed in my presence,

Date: February 01, 2024

Judge's signature

City and state: Laredo, Texas Christopher dos Santos ,U.S. Magistrate Judge
hose Printed name and title .

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AFFIDAVIT - PS

- In support of Criminal Complaint ¢

UNITED STATES OF AMERICA CRIMINAL COMPLAINT -
Tyrone JOHNSON JR... : . oF €ase Number:

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On January 30, 2024, at the United States (U.S.) Border Patrol Checkpoint, located at mile-marker 29 on Interstate 35 (1-35) north
of Laredo, Texas i in Webb ‘County. At approximately 4:40 p.m., a 2024, white in color. Freightliner approached the primary booth .
for inspection. oy . .

Primary ‘Border Patrol Agent (BPA) encountered the driver, Tyrone JOHNSON Jr. BPA asked JOHNSON Jr if he was by himself,
and JOHNSON Jr replied "Yes". BPA noticed that the curtains to the sleeper were closed and asked JOHNSON ir if he would give
consent to search inside the tractor. JOHNSON Jr replied "Yeah" and opened the door to allow the BPA into ‘the tractor, The BPA
then asked, JOHNSON Jr to move. to the passenger seat and if he could open the curtains to the sleeper portion. of the tractor, |

himself As! the BRA attempted to detain JOHNSON Ir, he began to resist by saying "Why are you doing this to me. These are’ your
people. God sent me!" A second BPA assisted the primary BPA to detain and remove JOHNSON Jr from the tractor. BPAs
discovered a total of five subjects and removed them from the tractor. An immigration inspection was performed on the five subjects
revealing they were all in the U.S. illegally with no right to be in the U.S. JOHNSON Jr and the undocumented noncitizens were
placed under arrest and taken into the checkpoint for further investigation.

Tyrone JOHNSON Jr was read his Miranda Rights and acknowledged by signing Service Form 1-214. JOHNSON Jr advised he was
not willing to provide a statement without his lawyer present. All questions were ceased.

Juan Pablo AZUARA Munoz a citizen of Mexico, is serving as a material witness and freely stated he was illegally present in the
U.S. AZUARA: Munoz stated his friend back home made his arrangements to be smuggled into the U.S. AZUARA Munoz stated he
was going to pay a total of $9,500 United States Dollars (USD), to be taken to Houston, Texas. AZUARA Monoz stated he crossed
on January 27, 2024, with three others and a guide. A white sedan picked them up and;took them to a house, where he.stayed for a
night.¢ and then taken, to another house. On January 30, 2024, AZUARA Munoz stated he was picked up by ait ‘tiknown man ‘and ~
was taken to a location where a white tractor trailer was parked. They were instructed to get into the tractor. AZUARA Munoz
stated as he was getting into the tractor, JOHNSON Jr was sitting in the driver seat and used his cell phone for translation from the
English language to Spanish to instruct them where to hide on the top sleeper. JOHNSON Jr covered them with a blanket and told
them not to move. AZUARA Munoz stated JOHNSON JR began to drive the tractor trailer without making any stops before
arriving at the checkpoint. Juan Pablo AZUARA Munoz was presented with six-person photo lincup and was able to positively
identify Tyrone JOHNSON Jr as the driver.

SUBSCRIBED and SWORN to before me on
Ist day of February, 2024

/S/ Grant, Michael Border Patrol Agent

Signature of Judicial Officer Signature of Complainant
